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      Exhibit B
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                        RESPONSIBLE
                       GROWTH
 A goal
without
a plan is
 just a




                       REPORT
  wish



   Antoine de
  Saint-Exupéry




                                                /FALL 2021




                              This is an unofficial and internal Elsevier/RELX
                          document presented by concerned employees that
                              addresses company adherence to our policies.

                                The purpose of this report is to (1) highlight
                                where the current science reveals misalignment
                                                                                   /CONTENTS
                                of our business with our stated policies and (2)   Introduction . . . . . . . . . . . 2
                                                                                   Barriers . . . . . . . . . . . . . 3
                                point to other policies that oblige the company
                                to swiftly address these discrepancies. This
                                report was generated in the spirit of RELX’s       Discussion . . . . . . . . . . . . 4
                                                                                   Policies. . . . . . . . . . . . . . 5
                                culture of integrity, where we feel comfortable
                                to ask questions, speak up, and report concerns.
                                These reports are posted here and updated          Conclusion . . . . . . . . . . . . 6
                                every 6 months or less. For more information,
                                please contact Kip Lyall at klyall@cell.com.
                                                                                   Questions . . . . . . . . . . . . 7
                                           This version is from September 2021.    Notes . . . . . . . . . . . . . . . 8
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                                                 THE
                                             CLIMATE
                                          EMERGENCY                 and is accelerating faster than most
                                                                    scientists anticipated.1 2021 has




                                                 HAS
                                                                    claimed the records for the hottest
                                                                    month, as well as for the highest
                                                                    atmospheric concentrations of
                                                                    carbon dioxide, methane, and nitrous
                                                                    oxide. With it estimated that climate




                                            ARRIVED
                                                                    change is already causing 5 million
                                                                    premature deaths per year,2 this is an
                                                                    urgent environmental, health, and
                                                                    human rights crisis with a rapidly
                                                                    closing window for preserving the
                                                                    natural systems that sustain life.3

                                                                    The Paris Climate Agreement is
                                                                    an international accord that aims to
                                                                    substantially reduce global green-
                                                                    house gas emissions to limit global
                                                                    heating to 1.5°C above pre-industrial
                                                                    levels. The current climate science
                                                                    indicates this goal requires that
                                                                    the world:



                                                                    End all new oil, gas, and coal projects 4
                                                                    Leave 80% of all proven fossil fuel
                                                                    reserves in the ground 5
                                                                    Decrease CO2 emissions
                                                                    by roughly 7.6% per year
                                                                    between 2020 and 2030 6


                                                                    Elsevier/RELX has an array of
                                                                    company-wide environmental and
                                                                    human rights policies that bind our
                                                                    business to these science-based
                                                                    obligations. Our policies hold that no
                                                                    aspect of the company should
                                                                    conflict with these commitments.
                                                                    They apply to the environmental and
                                                                    human rights impacts that occur
                                                                    through our direct actions, from our
                                                                    business relationships, and from the
                                                                    use of our products and services.

                                                                    Regrettably, there are substantial
                                                                    barriers in place that refute the
                                                                    company’s claim that we’re properly
                                                                    adhering to these policies.

2 RESPONSIBLE GROWTH REPORT / FALL 2021
                                               BARRIERS
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                                          POLITICAL ACTION /                         analyzed, Vanguard—the world’s
                                          RELX’s Political Action Committee          largest coal investor31—has $344
                                          (REPAC) disregards climate change,         billion invested in fossil fuels, with
ELSEVIER R&D SOLUTIONS AND                health, and human rights to be issues      only 4 having sustainability man-
DATA SERVICES /                           that affect us, our business, and our      dates.32 While divesting is “unlikely to
                                          customers, and thus it does not            have a significant direct impact on
Serving a majority of Fortune 500 oil                                                reducing GHG [greenhouse gas]
and gas companies,7 Elsevier has a        consider these issues when choosing
                                          which U.S. politicians to financially      emissions, divestment as an institu-
portfolio of R&D solutions and data                                                  tional strategy can contribute to
management services that are              support.19 Despite awareness that
                                          only governments “can realistically        increasing support for a climate
developing strategies to attain                                                      agreement and effective climate
significant production gains for the      plan for and trigger every compo-
                                          nent of an orderly low-carbon              policies in the medium and long
fossil fuel industry8 intended to                                                    term.”33
stimulate global oil production for       transition”20 and that their coopera-
decades to come.9 We help compa-          tion is indispensable to effectively
                                          eliminate economic, structural, and        BOOKS AND JOURNALS /
nies prioritize finding new explora-
tion opportunities,10 accelerate          social barriers to change,21 REPAC         Elsevier markets ScienceDirect, our
exploration efforts,11 and maximize       opts to give money to politicians that     journals, and our books as a means
total recoverable volumes of oil and      promote the denial of climate              for the oil and gas industry to
gas resources.12 We also enable the       change,22 undermine the public             accelerate discoveries.34 Books and
expansion of the fossil fuel industry     support necessary to generate              journals such as Arctic Pipeline
into riskier, more remote areas that      effective policy adoption,23 spread        Planning, Petroleum Exploration and
had previously been inaccessible.13       hostility to the scientific community,24   Development, and Dynamic Well
In the hunt for these undiscovered        build courts opposed to climate            Testing in Petroleum Exploration and
fossil fuel resources, “scientific        activism,25 write anti-climate legisla-    Development are among many
information providers like Elsevier       tion,26 slash the budgets of organiza-     products offered that contribute to
understand [the] challenge and are        tions that contribute the most to the      the scientific and technological
increasingly seizing the opportuni-       literature on climate change, block        development of new petroleum
ty.”14 We assert that there’s much to     federal actions that would help            exploration projects.35 Many of our
be gained by new technologies that        displace oil, natural gas and coal,27      authors, editors, and journal advisory
can “help oil and gas companies           and give extensive subsidies to the        board members are also current
drive discovery”15 and locate hydro-      fossil fuel industry.28 These subsidies    employees of fossil fuel companies
carbon accumulations that we              generate production from fields that       that are extensively involved in
couldn’t find before.16 In fact, we       would be unviable without aid,             expanding exploration and extraction
claim that helping these companies        further lock in fossil fuel dependency,    of oil and gas while actively fighting
“find things that weren’t found           and make investment in clean               environmental measures that would
before” is what Elsevier “is good         alternatives seem less competitive by      hinder that activity.36 These individu-
at.”17                                    artificially lowering the cost of          als publish studies that advise their
                                          producing hazardous, non-renewable         industry on fossil fuel development
RX (EXHIBITIONS) /                        energy.29 Of the top 15 recent political   bargaining strategies,37 investment
                                          recipients of funds from oil and gas,      decision-making,38 new drilling tools
We have an array of events18 that         REPAC has supported a majority.30          and technologies,39 exploration and
cater to extraction industries for the                                               development prospects for shale
purpose of helping them expand            INVESTMENTS /                              oil,40 tight oil,41 and oil sands,42 and
global production of new fossil fuel                                                 call for fossil fuel companies, univer-
resources. They promote offshore          40% of U.S. 401K retirement funds
                                          offered by RELX are part of the            sities, and research institutes to
exploration and production in the                                                    “work together…for deep oil and gas
Arctic, foster construction of new        Vanguard Target Retirement Series,
                                          which the online platform Fossil Free      exploration and development” in
offshore facilities, attract investment                                              areas that have “vast exploration
for new oil and gas production, aid       Funds rates with a D letter grade for
                                          exposure to fossil fuels and defor-        potential”43 like the Arctic44 and other
the Amazon-destroying Brazilian                                                      uncertain environments.45
biofuels industry, and aim to boost       estation. They report that in 117 funds
worldwide coal production.




3 RESPONSIBLE GROWTH REPORT / FALL 2021
                                                  DISCUSSION
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T
                                               actual burning of their products,         Elsevier/RELX maintains, however,
                                               which accounts for the vast majority      that the fossil fuel industry is doing
                                               of emissions. For consumer-driven         right by the climate and “going
             he oil and gas majors             emissions, the oil majors only intend     green,”59 with our intention to be a
             have has known for                to reduce the “carbon intensity” of       partner in their supposed energy
             decades that its activi-          their products—meaning the quantity       “transition.” This is a transition that
             ties cause climate                of absolute greenhouse gases in the       the industry has no plans for and
             change and did not alter          atmosphere can continue to rise.51        continues to successfully combat:60
             their behavior, even                                                        the world is on pace to finish this
             though less carbon-in-            Most urgently, the                                                 transition in
             tensive alternatives were         industry has not called                                             about 400
and are possible, and it continues             for or committed to                                                 years.61 The
to successfully deflect blame and              ending fossil fuel                                                  lack of an
oppose efforts to move away from               exploration and the                                                 immediate
fossil fuels.46 Beyond merely being            rapid shift off fossil                                              transition is
incompatible with our climate                  fuels that the Interna-                                             projected to
goals, they are committing                     tional Energy Agency                                                lead to the
ecocide: the deliberate destruction            (IEA) and the UN                                                    premature
of our natural environment.                    Intergovernmental                                                    deaths of 150
                                               Panel on Climate                                                     million people
The industry’s current net-zero                Change (IPCC) say is                                                 from air
“ambitions” rely on capturing                  necessary to potential-                                              pollution alone
emissions with unproven carbon                 ly stay under the 1.5°C                                              by 2100,62 a
capture (CCS) technologies                     degree limit.52 Response to the 2021      year when heat is anticipated to be
(deployable technologies at the                IPCC report instead emphasized that       the cause of more deaths than all
required scales do not exist47 and             demand for carbon-based fuels will        infectious diseases combined.63
>80% CCS projects end in failure;48            still rise for decades and called on      Global heating, The Lancet has
CCS was described in Nature as                 leadership from governments53—ones        observed, is decimating the past 50
“magical thinking”49) or offsetting            they’re lobbying and suing to prevent     years of gains in public health.64
emissions via impracticable refor-             effective climate action.54 An Elsevier
vestation projects.50 Further, these           paper this year compared oil majors       The core mission of Elsevier/RELX is
pledges do not even cover the                  to “Horsemen of the Apocalypse,”          to improve health outcomes for the
                                               due in part to compensation packag-       benefit of society.65 With the burning
                                               es for CEOs being linked to explora-      of fossil fuels a major source of the
                                               tion of new fields, increased             airborne fine particulate matter that
                                               extraction, and the ongoing promo-        is the cause of 1 in 5 deaths per
                                               tion of fossil fuel demand through        year66 and climate change “the
                                               lobbying and government subsidies.55      biggest global health threat of the
    Fossil fuels                               The industry is investing $785 billion
                                               on new oil and gas fields between
                                                                                         21st century,”67 our work promoting,
                                                                                         informing, and profiting from new
 are the greatest                              2020 and 202956 while the world's         fossil fuel production means we’re
  contributor to                               coal producers plan as many as 432
                                               new mine projects.57 This puts us on
                                                                                         neglecting this mission, as well as
                                                                                         company-wide policies68 that commit
 climate change.                               track to produce more than double         us to do what follows.
                                               the amount of fossil fuels in 2030
   Allowing the                                than would be consistent with the
    continued                                  1.5°C goal.58

   expansion of
  the industry is
 unconscionable.


      Nobel Laureate Muhammad Yunus
  Keynote speaker at RELX’s 2021 Sustainable
      Development Goals Inspiration Day




4 RESPONSIBLE GROWTH REPORT / FALL 2021
                                             POLICIES
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GENERAL /                                   PRODUCTS and SERVICES /                      Recognize that “in no case may a
                                                                                         people be deprived of its own means of
Support the rapid reduction of green-       Refrain from providing goods or
                                            services that we know will cause harm,       subsistence.”92
house gas emissions69 and minimize
contributions to climate change across      and to not be silent or inactive in the
                                                                                         Take “active consideration of how to
the business at the scale deemed            face of harm being done.82
                                                                                         minimize misuse of data and negative
necessary by science, recognizing the
impact of consumer use of our               Discontinue “activities with potentially     impact on people”,93 putting “people at
                                            adverse climate change-related               the center while guarding against
products and services,70 to meet the
                                            human rights impacts.”83                     potential harms.”94
targets of the Paris Agreement.71

Ensure that no part of the company is       Seek to prevent or mitigate “an adverse      CONSENT /
conflicting with company sustainability     impact where [we] have not contribut-        Obtain free, prior, and informed
commitments and objectives.72               ed to that impact, when the impact is        consent from potentially impacted
                                            nevertheless directly linked to [our]        people regarding decisions and actions
Prevent “any contradiction between          operations, products or services.”84         likely to have climate-related human
[our activities] and sustainable                                                         rights impacts.95
development.”73                             LOBBYING /
                                            Strive for coherence between responsi-       Consider acceptability to the public
Identify risks of contributing to           bility to respect human rights, including    when deciding what’s acceptable risk
adverse impacts and “take the neces-        as they relate to climate change, and        when there’s a reasonable suspicion of
sary steps to cease or prevent [our]        policies that govern wider business          environmental harm.96
contribution.”74                            activities, including lobbying activity.85
                                                                                         “Publicly provide information that is
Work with partners who demonstrate          Ensure lobbying activities don’t elevate     sufficient to evaluate the adequacy of
a responsible approach to managing          inaccurate, misleading, and unfounded        [our] response to climate change-relat-
environmental impact.75                     assertions which harm the ability of         ed human rights harms.”97
                                            States and the public to make informed
INTERPRETATION /                            decisions regarding climate change.86
Interpret “sound environmental
management” in its broadest sense,          HUMAN RIGHTS /                               Our Code of Ethics requires we act in
“embodying activities aimed at                                                           conformity with these policies. It also
                                            Uphold the Universal Declaration of
controlling both direct and indirect        Human Rights, including the right to a       prohibits us from making false or
environmental impacts of enterprise         standard of living adequate for proper       misleading oral or written statements
activities over the long-term.”76           health and well-being—maintaining that       or omissions about our policies,
                                            no group should engage in any activity       products, and services. Additionally,
Support a precautionary approach to         that denies those rights.87                  it stipulates that if any conduct could
environmental challenges, emphasizing                                                    be considered to hurt the ethical
prevention of harm.77                       “Integrate climate change consider-          reputation of the company, may feel
                                            ations into [our] human rights due           or give the appearance of being
Determine “the appropriate response         diligence processes.”88
to the identified risks” based on “the                                                   ethically improper, or would appear
severity and probability of adverse                                                      unfavorable if seen on the evening
                                            Address any negative human rights            news or social media, then we must
impacts.”78                                 impacts with which we may be involved
                                                                                         reconsider our approach.98 Our
                                            either through our own activities or as
Prioritize actions in a way that            a result of our business relation-           operating principles also require we
“begin[s] with those human rights           ships—this applies to impacts from           act in conformity with our policies,
impacts that would be most severe,”79       climate change and in the absence of         and instructs us to incorporate ethics
with immediate action required “where       government regulations.89, 90                into all our actions, grow our
there are threats of serious or irrevers-                                                business with integrity, speak out for
ible damage”80 in which “a delayed          Respect human rights as “a global            what is right, hold ourselves account-
response may make the impact                standard of expected conduct that            able, and swiftly pivot when shown
irremediable.”81                            applies even in the absence of clear         to be wrong99—in this case by the
                                            domestic climate obligations.”91             health and scientific communities
                                                                                         we serve.




5 RESPONSIBLE GROWTH REPORT / FALL 2021
                                           CONCLUSION
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E
                                                                                                   We are
             lsevier/RELX’s position is
             that we’re in full compli-
                                                  existing projects are retired, and a
                                                  majority of known resources are left
                                                                                                now faced
             ance with our environ-               in the ground.104 But another year          with the fact
             mental policies, and our             into the UN’s critical “Decade of
                                                                                            that tomorrow
                              100

             work in supporting the               Action,” Elsevier/RELX’s actions are
             production aims of the               driving new fossil fuel development          is today. We
             fossil fuel industry is              through our products, services,
             meant to continue with               events, and political contributions,      are confronted
no changes to our stated policies                 which indicates we are unfazed by          with the fierce
needed to properly reflect this                   the prospect of the world pushing
activity. We instead point to our use             well beyond the 1.5°C target.                 urgency of
of energy, paper, print
and production technolo-                                    Our hope is that the com-
                                                                                               now. In this
gies, and the recycling of        THIS IS CLIMATE           pany will recognize that             unfolding
                                  DENIAL—WE DON’T
waste as our primary
environmental impacts.101         DISAGREE THAT THE
                                                            aspects of our business are
                                                            not only incompatible with
                                                                                             conundrum of
Leadership postulates             CLIMATE IS CHANGING,      our policies, but also with     life and history
                                  BUT WE ARE IN DENIAL
that Elsevier/RELX is in
fact “one of the most             ABOUT ITS EFFECTS,
                                                            the health and well-being of
                                                            the planet. Elsevier/RELX is
                                                                                            there is such a
sustainable businesses in         OUR IMPACT, AND
                                  WHAT CURBING
                                                            free to support the objec-        thing as being
the world”102 and that                                      tives of fossil fuel compa-
global heating doesn’t            GLOBAL HEATING            nies, activity the keynote            too late.
actually pose any signifi-        WOULD ENTAIL.             speaker at RELX’s 2021
cant risks to the compa-                                    Sustainable Development
ny.103 This is climate                                      Goal Inspiration Day
denial—we don’t disagree                                    describes as being “uncon-
that the climate is chang-                                  scionable.”105 Alternatively,
                                                                                                  Rev. Martin
ing, but we are in denial about its               the company can commit to the 1.5°C
                                                                                                 Luther King Jr.
effects, our impact, and what                     goal on global warming and conduct
curbing global heating would entail.              business in a way that responds to
                                                  the climate emergency at the scale
The scientific community is telling us            deemed necessary by science. But,
that there is no credible prospect of             we cannot openly and honestly—in
avoiding more than 1.5°C of global                adherence to our stated values,
heating unless all new fossil fuel                operating principles, ethics code,
development is stopped, some                      and other policies—do both.


We stand with leadership in endorsing our existing
policies and the obligations they entail. We recog-
nize there are business implications associated
with dissolving activities that conflict with them.
We request the company share with employees a
clear exit strategy with an associated timeline by
the end of the current financial year (April 2022).
Until we make this transition, withdrawing from or
amending any existing policies and statements to
accurately reflect our business will demonstrate a
shared commitment to our code of ethics and op-
erating principles.




6 RESPONSIBLE GROWTH REPORT / FALL 2021
                                            QUESTIONS
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The above issues are of deep importance to us, to the science and medical
communities we serve, and to the greater public. We respectfully request that
the Senior Management Team at Cell Press distribute answers to the 10 questions
below to Cell Press employees prior to having them discussed at the next Cell
Press Town Hall. We welcome any general comments, as well as answers from
individual SMT members if there are any dissenting views. It’s our hope that this
can help generate thoughtful discussion and meaningful action.


GENERAL /                                 ANTI-RACISM /                               ADANI /
In light of the latest climate science    In 2020, systemic inequality prompt-        RELX provides the coal company
research, do you find any of              ed Cell Press to “ask what more we          Adani113 with resources that they
Elsevier/RELX’s business activity to      can do to fight prejudice and               describe as “vital” to their business.
be unethical and/or in violation of       promote social justice,” seeking to         Are these resources we should be
our environmental, health, human          find “what we can do to be stronger         providing to Adani?114
rights, and other policies? Do you        allies, stronger anti-racists.”107 As One
find any of our stated policies to be     Earth has testified, the effects of         REPAC /
inaccurate or misleading? Please          climate change “are not distributed         REPAC received policy questions
explain why or why not.                   equally. They disproportionately            from Cell Press employees over a
                                          affect marginalized communities: the        year ago, and then again via HR in
INCOMBATIBILITY /                         poor, the vulnerable, and the disad-        February. We have yet to receive
When Elsevier shut down our war           vantaged. In a world where systemic         answers to them, despite the Code of
industry exhibitions, CEO Sir Crispin     racism is endemic to global inequali-       Ethics indicating that ignoring
Davis said that “our presence here is     ty, this generally means that minority      employee concerns is a prohibited
incompatible with the aims of the         ethnicities suffer the most.”108 Is there   form of retaliation. Could SMT please
science and medical communities.”         opportunity for anti-racist action by       assist in having REPAC provide us
Are any of Elsevier/RELX’s current        Cell Press as it pertains to some of        with written answers to these
activities also incompatible?             Elsevier/RELX’s activities, partners,       existing questions, along with any
                                          and customers discussed in these            new questions from Cell Press
RISKS /                                   reports?109, 110                            employees, by the end of the year?
Beyond the threat to the climate, do
you consider any of Elsevier/RELX’s       CONSENT /                                   REPORTS /
business activity to be a threat to       Is SMT able to provide evidence             For those questioning the company’s
Cell Press? Do you find any of the        that the company has the informed           commitment to our policies, could
risks described in the previous           consent of potentially effected             SMT please speak to their under-
version of this report to be relevant     people regarding Elsevier/RELX              standing of the company’s pledge to
to Cell Press, our customers, and our     activities that are likely to have          “refrain from discriminatory or
colleagues?                               climate-related human rights                disciplinary action against workers
                                          impacts?                                    who make bona fide reports to
DISCLOSURE /                                                                          management or, as appropriate, to
Should we in any be disclosing            EXPLORATION /                               the competent public authorities, on
Elsevier’s involvement in fossil fuel     New Arctic oil exploration and              practices that contravene [our]
production to our customers—par-          extraction “requires specific R&D”          policies”?115
ticularly ones whose research             and is inconsistent with a 1.5°C
touches on these issues? What             target.111 Given our policies, should       We thank you for your time and willingness
about to current and prospective          Elsevier/RELX be providing that R&D         to engage on these important topics.
employees? Is the company                 and publishing research that assesses
adequately providing information to       and promotes new offshore oil and
investors and the general public that     gas projects in the Arctic?112
is sufficient to accurately evaluate
our involvement in climate change-
related human rights harms?106




7 RESPONSIBLE GROWTH REPORT / FALL 2021
                                                          NOTES
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     owned (copyrighted) content, except Gold Open Access; data and any other Elsevier/RELX IP without official sanction.

1    https://www.ipcc.ch/report/ar6/wg1/

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3    https://academic.oup.com/bioscience/advance-article/doi/10.1093/biosci/biab079/6325731

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5    Bos, K. and Gupta, K., “Stranded assets and stranded resources: Implications for climate change mitigation and global sustainable development.”
     Energy Research and Social Science, October 2019, https://www.sciencedirect.com/science/article/pii/S2214629618305383

6    Huang, M. and Zhai, P., “Achieving Paris agreement temperature goals requires carbon neutrality by middle century with far-reaching transitions in the whole society.”
     Advances in Climate Change Research, March 19, 2021, https://www.sciencedirect.com/science/article/pii/S1674927821000435

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14   https://assets.geoexpro.com/uploads/44c86db1-ab31-4ae1-ae9b-c49d34eddfab/GEO_ExPro_v11i2.pdf

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     R&D Solutions for OIL & GAS EXPLORATION & PRODUCTION: Enhanced Oil Recovery—Do You Have the Right EOR Strategy? Elsevier,
     https://www.elsevier.com/__data/assets/pdf_file/0017/230831/RDS_OG_EP_WP_-EOR-Right-Strategy_DIGITAL.pdf

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18   https://rxglobal.com/; see the 2021 Spring Report for more details.

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25   Hasemyer, D., "The Supreme Court Hears Arguments on Climate Change. Is it Ready to Decide Which Courts Have Jurisdiction?" Inside Climate News, January 20, 2021,
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27   Lavelle, M., "U.S. House Hacks Away at Renewable Energy, Efficiency Programs." Inside Climate News, July 27, 2017, https://insideclimatenews.org/news/27072017/congress-bud-
     get-house-vote-renewable-energy-efficiency-programs-fossil-fuel-spending/?amp

28   Coleman, C. And Dietz, E., "Fossil Fuel Subsidies: A Closer Look at Tax Breaks and Societal Costs." Environmental and Energy Study Institute, July 29, 2019
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29   Gerasimchuk, I., et al., "Zombie Energy: Climate benefits of ending subsidies to fossil fuel production." International Institute for Sustainable Development, 2017,
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30   Oil & Gas: Top Recipients. Open Secrets, https://www.opensecrets.org/industries/recips.php?ind=E01&cycle=2020&recipdetail=A&sortorder=U

31   https://www.ft.com/content/c032f5a4-9801-47d3-abf7-d5d9826558cc

32   https://fossilfreefunds.org/families?q=Vanguard

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36   https://www.theguardian.com/environment/2021/jul/19/big-oil-climate-crisis-lobby-group-api

37   https://www.sciencedirect.com/science/article/pii/S1995822621000029

38   https://www.sciencedirect.com/science/article/pii/S0920410520311475

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     8 RESPONSIBLE GROWTH REPORT / FALL 2021
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43   https://www.sciencedirect.com/science/article/pii/S2468256X18300105
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     https://www.sciencedirect.com/science/article/pii/S0962629820303619
     https://www.cell.com/one-earth/pdf/S2590-3322(21)00233-5.pdf
     Moving away from denial, industry tactics now include redirecting responsibility, pushing non-transformative solutions, emphasizing the downside of action, and surrender (we can’t
     mitigate climate change):
     https://www.cambridge.org/core/journals/global-sustainability/article/discourses-of-climate-delay/7B11B722E3E3454BB6212378E32985A7
47   https://www.sciencedirect.com/science/article/pii/S2590332220303687
48   https://www.bmj.com/content/374/bmj.n1734#ref-14: “Current strategies for reducing emissions to net zero by the middle of the century implausibly assume that the world will
     acquire great capabilities to remove greenhouse gases from the atmosphere.”

     https://iopscience.iop.org/article/10.1088/1748-9326/abd19e/meta
     CCS projects over the next decade are projected to use 90% of captured CO2 for extracting more fossil fuels via EOR (enhanced oil recovery). EOR has been found to be
     “incompatible with a low CO2 energy system.”:
     https://www.sciencedirect.com/science/article/pii/S030142151300966X
49   https://pubmed.ncbi.nlm.nih.gov/29469133/
50   https://www.washingtonpost.com/opinions/2021/03/22/net-zero-pledges-carbon-emissions/
     Shell’s offset plan would require planting trees on 10% of all available land on Earth.
51   https://insideclimatenews.org/news/16072020/oil-gas-climate-pledges-bp-shell-exxon/
52   https://www.iea.org/reports/net-zero-by-2050
53   https://globalrubbermarkets.com/305524/climate-report-exposes-fault-lines-within-fossil-fuel-industry.html
54   https://www.citizen.org/wp-content/uploads/egregious-investor-state-attacks-case-studies_4.pdf
     https://mkus3lurbh3lbztg254fzode-wpengine.netdna-ssl.com/wp-content/uploads/2021.01.08-Investor-State-Chart-Jan-2021.pdf
     https://www.iied.org/international-treaties-threaten-affordability-climate-action-new-report
     https://www.opensocietyfoundations.org/voices/the-climate-emergency-demands-a-new-approach-to-investor-state-disputes
     “Companies are even applying [ISDS’s] to challenge progressive national climate policies, such as phasing out coal (Netherlands), banning off-shore oil drilling projects (Italy), or
     laws that put an end to fossil fuel extraction (France).”
55   https://www.sciencedirect.com/science/article/pii/S2214629621001420
56   https://www.globalwitness.org/en/campaigns/oil-gas-and-mining/overexposed/
57   https://www.reuters.com/world/china/worlds-coal-producers-now-planning-more-than-400-new-mines-research-2021-06-03/
58   “The Production Gap: 2020 Report.” The Production Gap, https://productiongap.org/wp-content/uploads/2020/12/PGR2020_FullRprt_web.pdf
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     In a 9/9/2021 Elsevier webinar titled “Energy Transition”, the moderator asked the host if engineering students should focus on renewable energy careers. The host replied that there
     is more fossil fuel “adventure exploration” to be done in “totally new areas.” She reiterated an industry talking point about meeting energy demands, concluding with: “There is this
     strong drive to, either way, move to renewables or at least offset the emissions through decarbonization initiatives.” As noted above and in the previous report, it’s misleading at best
     to qualify the growth in renewables as an energy transition and decarbonization technologies to meet the Paris goals don’t exist.
60   http://priceofoil.org/2020/09/23/big-oil-reality-check/
     Of the largest integrated oil and fossil gas companies, none come close to aligning their actions with the urgent 1.5°C global warming limit as outlined by the Paris Agreement.

     Additional greenwashing information can be found here: https://www.clientearth.org/the-greenwashing-files/

     https://www.theguardian.com/us-news/2021/jun/30/exxonmobil-lobbyists-oil-giant-carbon-tax-pr-ploy
     Two senior D.C. lobbyists for ExxonMobil told an undercover reporter this year that ExxonMobil is working to undermine plans to limit greenhouse emissions and other environmen-
     tal measures. One of the lobbyists admitted that Exxon “aggressively” fought climate science and funded shadow groups to deny global heating. They described the oil company’s
     backing for a carbon tax as a public relations ploy intended to stall serious measures to combat the crisis.

     https://www.theguardian.com/environment/2021/jul/19/big-oil-climate-crisis-lobby-group-api
     “While companies run publicity campaigns claiming to take the climate emergency seriously, the trade group [API] works behind the scenes in Congress to stall or weaken
     environmental legislation.”
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61   https://www.technologyreview.com/2018/03/14/67154/at-this-rate-its-going-to-take-nearly-400-years-to-transform-the-energy-system/
62   This is the equivalent of 25 Holocausts: https://www.sciencedaily.com/releases/2018/03/180319145243.htm
63   https://science.thewire.in/environment/more-people-will-die-of-extreme-heat-than-of-infectious-diseases/
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67   https://www.sciencedirect.com/science/article/pii/S2542519621001133#bib3
68   Policies referenced are the Code of Ethics; Operating Principles; RELX Climate Change Statement; We Are Still In Declaration; Responsible Media Forum’s Climate Pact; RELX Global
     Environment Policy; RX (Reed Exhibitions) Sustainability Charter; UN Universal Declaration of Human Rights; UN Global Compact; UN Guiding Principles on Business and Human
     Rights; OECD Guidelines for Multinational Enterprises; these, at a minimum, also encompass International Bill of Human Rights, the International Covenant on Civil and Political
     Rights and the International Covenant on Economic, Social and Cultural Rights
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71   RELX Climate Change Statement 2019;
     https://www.wearestillin.com/we-are-still-declaration;
     “The Media Climate Pact.” Responsible Media Forum, https://responsiblemediaforum.org/pactCommitments
72   https://www.unglobalcompact.org/participation/report/cop/create-and-submit/advanced/442092
73   https://www.oecd.org/daf/inv/mne/48004323.pdf
74   https://www.oecd.org/daf/inv/mne/48004323.pdf




     9 RESPONSIBLE GROWTH REPORT / FALL 2021
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75    https://www.reedsmartspace.co.uk/en-gb/sustainability-charter.html

76    https://www.oecd.org/daf/inv/mne/48004323.pdf

77    https://www.unglobalcompact.org/what-is-gc/mission/principles/principle-7

78    https://www.oecd.org/daf/inv/mne/48004323.pdf

79    https://globalnaps.org/ungp/guiding-principle-24/

80    “The Ten Principles of the UN Global Compact—Principle Seven: Environment.” United Nations Global Compact,
      https://www.unglobalcompact.org/what-is-gc/mission/principles/principle-7

81    https://www.ohchr.org/documents/publications/faq_principlesbussinesshr.pdf

82    https://www.unglobalcompact.org/what-is-gc/mission/principles/principle-2

83    https://www.ohchr.org/Documents/Issues/ClimateChange/materials/KMBusiness.pdf
      In the context of the Guiding Principles, an “adverse human rights impact” occurs when an action removes or reduces the ability of an individual to enjoy his or her human rights. At
      a minimum, human rights are defined as those in the Universal Declaration of Human Rights; in the two International Covenants on civil and political and on economic, social and
      cultural rights; and in the ILO Declaration on Fundamental Principles and Rights at Work:
      https://www.ohchr.org/documents/publications/faq_principlesbussinesshr.pdf

84    https://www.oecd.org/daf/inv/mne/48004323.pdf

85    https://www.ohchr.org/Documents/Issues/ClimateChange/materials/KMBusiness.pdf

86    https://www.ohchr.org/Documents/Issues/ClimateChange/materials/KMBusiness.pdf

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      https://www.un.org/en/about-us/universal-declaration-of-human-rights

88    https://www.ohchr.org/EN/Issues/Business/Pages/Climate-Change-and-the-UNGPs.aspx

89    https://www.ohchr.org/Documents/Issues/ClimateChange/materials/KMBusiness.pdf

90    https://www.unglobalcompact.org/what-is-gc/our-work/social/human-rights

91    https://www.ohchr.org/Documents/Issues/ClimateChange/materials/KMBusiness.pdf

92    https://www.ohchr.org/en/professionalinterest/pages/cescr.aspx

93    https://www.data4sdgs.org/sites/default/files/2020-04/GPSDD%20EthicsPolicy%20Oct%202019.pdf

94    https://www.data4sdgs.org/news/introducing-the-data-values-project

95    https://www.ohchr.org/Documents/Issues/ClimateChange/materials/KMBusiness.pdf
      https://www.unglobalcompact.org/what-is-gc/mission/principles/principle-7

96    https://www.unglobalcompact.org/what-is-gc/mission/principles/principle-7

97    https://www.ohchr.org/Documents/Issues/ClimateChange/materials/KMBusiness.pdf

98    https://reedelsevier.sharepoint.com/sites/relx-compliance/Policies/code-of-ethics-english-int.pdf

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100 RELX’s Global Environment Manager, Teams meeting (September 13, 2021)
    Besides climate science, this statement contradicts the Managing Director of STMJ’s response to a REPAC question at a Q&A in December 2020,
    in which he said there are no plans to align the PAC with the UNGC guidelines.

101 https://www.relx.com/~/media/Files/R/RELX-Group/documents/investors/corporate-governance/code-of-ethics/code-of-ethics-english.pdf

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104 https://www.theguardian.com/environment/2021/may/18/no-new-investment-in-fossil-fuels-demands-top-energy-economist

105 https://mobile.twitter.com/Yunus_Centre/status/1385154775914672128
    “Fossil fuels are the greatest contributor to climate change. Allowing the continued expansion of this industry is unconscionable.”

106 https://www.ohchr.org/Documents/Issues/ClimateChange/materials/KMBusiness.pdf
    “Businesses should publicly provide information that is sufficient to evaluate the adequacy of their response to climate change-related human rights harms.”

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108 https://www.sciencedirect.com/science/article/pii/S2590332220302633

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110 https://www.opendemocracy.net/en/oureconomy/mining-giants-bhp-pretend-be-solving-climate-change-latin-america-they-are-deadly/
    https://www.theguardian.com/business/2019/may/14/adani-deal-with-myanmar-military-linked-company-raises-human-rights-alarm

111   https://www.sciencedirect.com/science/article/pii/S0928765517302889

112   https://www.sciencedirect.com/science/article/pii/S235248471931025X
      https://www.sciencedirect.com/science/article/pii/S0009281918300898

113   Adani is owner of one of the world’s largest untapped coal reserves (Carmichael coal mine) where it plans to begin production this year on what’s been called “the world’s most
      insane energy project.” This is being done despite corporate pressure, activist pressure, and “significant data gaps and scientific uncertainties” found throughout their environmental
      assessment. Projected to add 4.6 billion tons of carbon pollution to our atmosphere, it will destroy Indigenous
      homelands and facilitate additional coal mines in one of the largest proposed expansions of mining on Earth. Adani Power will be the company burning the coal in India. Adani Ports,
      with a $290 million commercial deal, is helping to prop up a military regime accused by the UN of committing genocide and crimes against humanity.

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115 https://www.oecd.org/daf/inv/mne/48004323.pdf

116 https://www.unglobalcompact.org/participation/report/cop/create-and-submit/advanced/442092

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118 https://www.sciencedirect.com/science/article/pii/S2468256X18300105

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120 RELX Director of Corporate Responsibility, RELX 2021 SDG Inspiration Day




      10 RESPONSIBLE GROWTH REPORT / FALL 2021
